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           [ORAL ARGUMENT HELD DECEMBER 7, 2022]

                     Nos. 22-5069, 22-7030, 22-7031


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     JAMES BLASSINGAME et al.,

                                         Plaintiffs-Appellees,

                                   v.

                         DONALD J. TRUMP,

                                         Defendant-Appellant.


             On Appeal from the United States District Court
                     for the District of Columbia


         BRIEF FOR UNITED STATES AS AMICUS CURIAE


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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies

as follows:

      A.      Parties and Amici

      Plaintiffs in district court, and appellees here, in these consolidated cases

are James Blassingame, Sidney Hemby, Karen R. Bass, Stephen I. Cohen,

Veronica Escobar, Pramila Jayapal, Henry C. Johnson Jr., Marcia C. Kaptur,

Barbara J. Lee, Jerrold Nadler, Maxine Waters, Bonnie M. Watson Coleman,

and Eric Swalwell. Bennie G. Thompson was formerly a plaintiff in district

court, but he has since voluntarily dismissed his claim with prejudice.

      Defendant in district court, and appellant here, is Donald J. Trump.

Additional defendants in district court who are not appellants here include

Donald J. Trump Jr., Enrique Tarrio, Morris Brooks Jr., the Oath Keepers,

Proud Boys International LLC, Rudolph W. Giuliani, and Warboys LLC.

      Non-party respondents in district court were the Office of General

Counsel for the United States House of Representatives and the United States

of America.

      Amici in district court, and in this Court, are Evan H. Caminker,

Andrew Kent, Sheldon Nahmod, Daphna Renan, Peter M. Shane, and Jared

Holt. Amici in this Court, though not in district court, are Vicki C. Jackson,
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Daniel B. Baer, James Arden Barnett Jr., Paul L. Boyd, Steven A Browning,

Dwight L. Bush Sr., Judith Cefkin, Akunna E. Cook, Greg Craig, Glyn T.

Davies, Greg Delawie, William C. Echo, John Feeley, Mark Feierstein,

Robert S. Gelbard, Ken Gross, Keith M. Harper, Bruce Alan Heyman, Karl

Hofmann, Vicki J. Huddleston, Dennis C. Jett, C. Donald Johnson, Laura E.

Kennedy, Anthony Lake, Hugo Llorens, Carmen Lomellin, Lewis Lukens,

David McKean, James D. Melville Jr., Thomas Pickering, Steven Pifer, Randy

Manner, Stephen D. Mull, Thomas B. Robertson, Theodore Sedgwick, Cliff

Sloan, Alan D. Solomont, Karen Clark Stanton, M. Arsalan Suleman, Kevin

Whitaker, Pamela White, Donald B. Ayer, John B. Bellinger III, Matthew

Collette, Charles Fried, Stuart M. Gerson, Mary B. McCord, David O’neil,

Alan Charles Raul, Matthew D. Roberts, Robert B. Shanks, Kate Shaw, Olivia

Troye, and the United States of America. Amici in district court, though not

in this Court, are Campaign Legal Center, Floyd Abrams, Erwin

Chemerinsky, Martha Minow, and Laurence H. Tribe.

       B.   Rulings Under Review

       The rulings under review are the opinion and order entered on February

18, 2022, see Thompson v. Trump, 590 F. Supp. 3d 46 (D.D.C. 2022) (Mehta,

J.).



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      C.    Related Cases

      The consolidated cases on review have not previously been before this

Court or any other, save the district court from which they originated. The

undersigned counsel is aware of five other pending cases involved similar

issues and at least some overlapping parties currently pending, four in this

Court and one in the district court: Moore v. Trump, No. 22-7120 (D.C. Cir.);

Tabron v. Trump, No. 22-7121 (D.C. Cir.); Kirkland v. Trump, No. 22-7122

(D.C. Cir.); Smith v. Trump, No. 23-7010 (D.C. Cir.); and Garza v. Trump, No.

1:23-cv-38 (D.D.C.). The undersigned counsel is not aware of any additional

related cases pending in this Court or any other.



                                              /s/ Sean R. Janda
                                             Sean R. Janda




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                               INTRODUCTION

      In these suits, Members of Congress and Capitol Police officers have

brought civil damages claims against former President Trump arising from

injuries they sustained during the assault on the Capitol on January 6, 2021.

The United States respectfully responds to this Court’s request for its views

regarding the former President’s assertion of absolute immunity.

      To ensure that the President has the “maximum ability to deal fearlessly

and impartially with the duties of his office,” the Supreme Court has held that

the President must possess “absolute immunity from damages liability

predicated on his official acts.” Nixon v. Fitzgerald, 457 U.S. 731, 749, 752

(1982) (quotation omitted). That immunity reaches all of the President’s

conduct within the vast ambit of his Office, including its “innumerable”

constitutional, statutory, and historical dimensions. Id. at 750, 756. In many

traditional spheres of Presidential action, the President’s responsibilities under

Article II are extraordinary and far-reaching, and damages claims predicated

on conduct beyond the “outer perimeter,” id. at 756, of those responsibilities

are difficult to imagine. In other contexts—such as when a President acts in

his capacity as a candidate for reelection in a distinct campaign setting—that

outer perimeter may be closer at hand. Even then, however, “[b]ecause the

Presidency is tied so tightly to the persona of its occupant,” “the line between
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official and personal” is “both elusive and difficult to discern.” In re Lindsey,

158 F.3d 1263, 1286 (D.C. Cir. 1998) (per curiam) (Tatel, J., concurring in part

and dissenting in part). In all contexts, questions of presidential immunity

must be approached with the greatest sensitivity to the unremitting demands of

the Presidency.

      Nevertheless, although courts should be reluctant to conclude that a suit

against the President is based on conduct that lies beyond the outer perimeter

of his Office, the United States agrees with the district court that a meaningful

perimeter exists. Nixon v. Fitzgerald establishes a rule of absolute immunity for

the President’s official acts. It is not a rule of absolute immunity for the

President regardless of the nature of his acts.

      Here, the district court concluded that plaintiffs’ complaints plausibly

allege that President Trump’s speech at the rally on January 6, 2021,

precipitated the ensuing attack on the Capitol—and, in particular, that the

complaints plausibly allege that the former President’s speech encouraged

imminent private violent action and was likely to produce such action. The

United States expresses no view on that conclusion, or on the truth of the

allegations in plaintiffs’ complaints. But in the United States’ view, such

incitement of imminent private violence would not be within the outer

perimeter of the Office of the President of the United States.

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      In this Court, President Trump has not challenged the district court’s

conclusion—reiterated by plaintiffs on appeal—that the complaints plausibly

allege that his speech instigated the attack on the Capitol. Instead, his briefs

advance only a single, categorical argument: A President is always immune

from any civil suits based on his “speech on matters of public concern,” Trump

Br. 7—even if that speech also constitutes incitement to imminent private

violence. The United States respectfully submits that the Court should reject

that categorical argument. And because that is the only argument the former

President has pressed on appeal, the Court could affirm the district court’s

order on that narrow ground without attempting to comprehensively define the

boundaries of the President’s immunity for his speech on matters of public

concern—including when and how to draw a line between the President’s

official and electoral speech. Those are sensitive questions of fundamental

importance to the Executive Branch, and this unusual case would be a poor

vehicle for resolving them.1


      1
       The absolute immunity at issue in this appeal concerns only a
President’s liability in a “private suit for damages.” Nixon, 457 U.S. at 754. In
addressing that question, the United States does not express any view
regarding the potential criminal liability of any person for the events of
January 6, 2021, or acts connected with those events. The government also
expresses no view on any other issue decided by the district court, including
whether plaintiffs have stated a valid claim for relief under 42 U.S.C. § 1985(1)
or any other cause of action.

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                                 STATEMENT

      1. Following the events of January 6, 2021, these lawsuits were filed by

Members of the House of Representatives and two Capitol Police officers. As

relevant here, each plaintiff brought a claim against former President Trump

under 42 U.S.C. § 1985(1), which prohibits conspiring to impede officers of the

United States in the discharge of their duties or to prevent any person from

accepting a federal office. Some plaintiffs also asserted other claims against

former President Trump, including claims under District of Columbia law. See

JA 214-16.

      Plaintiffs’ central theory is that the former President and other

defendants “conspired to prevent members of Congress, by force, intimidation,

and threats, from discharging their duties in connection with the Certification

of the Electoral College.” JA 205. Plaintiffs’ allegations against President

Trump focus on his public statements following the November 2020 election

and, in particular, on his speech at a rally on the Ellipse on January 6, 2021.

Plaintiffs allege that President Trump’s speech “incited his supporters to

commit imminent acts of violence and lawlessness at the Capitol.” Id.

      2. President Trump moved to dismiss the claims against him,

contending (as relevant here) that he is entitled to absolute immunity under

Nixon v. Fitzgerald, 457 U.S. 731 (1982). He argued, in particular, that the

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primary acts for which plaintiffs sought to impose civil liability—his pre-

January 6 statements and his speech at the January 6 rally—fell within the

outer limits of two presidential functions: (1) the President’s constitutional

responsibility to take care that the laws are faithfully executed and (2) the

historical function of the Office of the President as a “bully pulpit” to address

and rally the public on matters of public concern. See JA 228-29. The district

court rejected both arguments in relevant part.

      First, the court concluded that President Trump’s challenged actions did

not fall within his Take Care Clause duties because they were directed at the

implementation of constitutional and statutory provisions that do not prescribe

a role for the President and are instead carried out by officials in state

governments and in Congress. JA 229-32.

      Second, the district court concluded that the former President’s actions

did not fall within the President’s traditional function of addressing the public

on matters of public concern. The court recognized that “speech is

unquestionably a critical function of the presidency.” JA 233. It likewise

agreed that President Trump’s statements and speech “addressed matters of

public concern: the outcome of the 2020 Presidential Election and election

integrity.” Id. But the court rejected the former President’s categorical



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argument “that whenever and wherever a President speaks on a matter of

public concern he is immune from civil suit.” JA 234.

      In particular, the district court concluded that speech undertaken as part

of a President’s efforts to “secure or perpetuate incumbency” falls outside a

President’s duties because the “Office of the President has no preference for

who occupies it.” JA 238. Here, the court determined that the former

President’s challenged statements, including his January 6 speech, “reflect[ed]

an electoral purpose, not speech in furtherance of any official duty.” JA 241.

The court stated, for example, that the “main thrust” of the speech was to

assert that “perceived cases of election fraud” had “led President-elect Biden to

win more votes in closely contested states,” “to urge members of Congress to

object to certain state certifications,” and “to exhort the Vice President to

return those certifications to those states to be recertified.” JA 240.2

      After concluding that President Trump was not entitled to absolute

immunity for the bulk of the claims asserted against him, the district court

rejected other arguments in support of his motion to dismiss. As relevant here,

the district court held that the former President’s January 6 speech was not


      2
        The district court upheld President’s Trump’s assertion of immunity as
to a claim that he violated 42 U.S.C. § 1986 by failing to take action to halt the
attack on the Capitol. JA 241-42. The court explained that the President
cannot be held liable for an alleged “failure to exercise his presidential
powers.” JA 242.
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protected by the First Amendment because plaintiffs had adequately alleged

that it constituted incitement to violence. Under Brandenburg v. Ohio, 395 U.S.

444 (1969) (per curiam), speech falls outside the First Amendment if it “is

directed to inciting or producing imminent lawless action and is likely to incite

or produce such action.” Id. at 447; see JA 286. The court acknowledged that

“Brandenburg’s imminence requirement is stringent,” but it held that plaintiffs’

complaints had plausibly alleged that the former President’s speech was “an

implicit call for imminent violence or lawlessness” and was likely to produce a

violent response from the assembled crowd. JA 297-98.

       3. Former President Trump appealed the district court’s order denying

absolute immunity. On December 20, 2022, following briefing and oral

argument, this Court invited the Department of Justice to file an amicus brief

expressing the views of the United States.

                                 ARGUMENT

III.   The Absolute Immunity of the President Encompasses All
       Conduct Within the Scope of the President’s Office

       To protect the autonomy and independence of the Presidency, the

Supreme Court has recognized that the President must possess “absolute

immunity from damages liability predicated on his official acts.” Nixon v.

Fitzgerald, 457 U.S. 731, 749 (1982). That immunity extends to all Presidential

conduct falling within the “innumerable” constitutional, statutory, and
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historical dimensions of his Office. Id. at 750, 756. The district court correctly

refused to curtail that immunity in the categorical ways that plaintiffs propose.

      A.     The President is immune from civil damages claims for all
             conduct within the outer perimeter of his Office

      “The President occupies a unique position in the constitutional scheme.”

Nixon, 457 U.S. at 749. The Constitution vests the legislative and judicial

powers in a plural Congress and plural Judiciary. But it vests the entirety of

the executive power “in a single head in whose choice the whole Nation has a

part, making him the focus of public hopes and expectations.” Youngstown

Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 653 (1952) (Jackson, J., concurring).

The Constitution entrusts the President with vast and unremitting public

responsibilities, including taking care that the laws are faithfully executed;

commanding the Armed Forces; nominating, appointing, and removing

officers; making treaties; recommending, signing, and vetoing bills; sending

and receiving ambassadors; and granting pardons and reprieves. U.S. Const.

art. II, §§ 2-3. And as “the only person who alone composes a branch of

government,” Trump v. Mazars USA, LLP, 140 S. Ct. 2019, 2034 (2020), the

President is called upon to speak and act not just for a single district or State,

but for all the people of the United States.

      “[T]he sheer prominence of the President’s office” makes him “an easily

identifiable target for suits for civil damages.” Nixon, 457 U.S. at 752-53. In
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the conduct of his official responsibilities, “a President must concern himself

with matters likely to arouse the most intense feelings.” Id. (quotation

omitted). Yet as the Supreme Court has emphasized, it is precisely in such

circumstances that there is “the greatest public interest in providing” the

President with “the maximum ability to deal fearlessly and impartially with the

duties of his office.” Id. (quotation omitted). To require the President to face

private damages suits for actions associated with his Office and role would

threaten to make the President “unduly cautious in the discharge of his official

duties.” Id. at 752 n.32.

      Accordingly, “[i]n view of the special nature of the President’s

constitutional office and functions,” the Supreme Court has determined that it

is “appropriate to recognize absolute Presidential immunity from damages

liability for acts within the ‘outer perimeter’ of his official responsibility.”

Nixon, 457 U.S. at 756. This immunity, the Supreme Court has explained,

may not be curtailed by attempting to parse discrete Presidential “functions,”

or through allegations that official acts were taken with improper motives.

Because the President has “discretionary responsibilities in a broad variety of

areas, . . . [i]n many cases it would be difficult to determine which of the

President’s innumerable ‘functions’ encompassed a particular action.” Id.

And “an inquiry into the President’s motives” to determine whether a

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particular action was done in furtherance of a legitimate function or for

nefarious reasons would “be highly intrusive” and would impermissibly

“subject the President to trial on virtually every allegation that an action was

unlawful, or was taken for a forbidden purpose.” Id.

      B.     The district court correctly declined to adopt categorical
             limitations on the President’s immunity

      The district court correctly declined plaintiffs’ invitation to carve out

certain areas of Presidential conduct as categorically beyond the outer limits of

the President’s Office.

      First, the district court correctly declined to embrace plaintiffs’ suggestion

that presidential speech or conduct necessarily falls beyond the outer perimeter

of the President’s Office if it concerns functions that the Constitution assigns

exclusively to another Branch. Plaintiffs renew that contention in this Court,

urging that any conduct by the President concerning the certification of

presidential election results necessarily falls outside the immunity recognized

in Nixon because the Constitution and relevant statutes afford the President no

role in the certification process. See, e.g., Plaintiffs Br. 26.

      That categorical claim disregards the complexities of the President’s role

in our constitutional system. Although the Constitution allocates powers

among the three Branches, it also contemplates that the Branches will check

each other in the exercise of those powers. History teaches that, in many
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circumstances, such interbranch checks occur through officials’ use of political,

public, or interpersonal power, rather than through the exercise of any

enumerated constitutional authority. Cf. NLRB v. Noel Canning, 573 U.S. 513,

555-56 (2014) (“[T]he President and Senators engage with each other in many

different ways and have a variety of methods of encouraging each other to

accept their points of view.”). Thus, for example, a President acts within the

scope of his office when he urges Members of Congress to act in a particular

way with respect to a given legislative matter—even a matter, such as a

congressional investigation, in which the President has no constitutional role.

      That is particularly plain with respect to damages claims predicated on a

President’s speech to the public. “The President of the United States possesses

an extraordinary power to speak to his fellow citizens and on their behalf.”

Trump v. Hawaii, 138 S. Ct. 2392, 2417-18 (2018). The immunity recognized in

Nixon thus ordinarily protects the President from civil damages liability arising

out of his speech to the public on matters of public concern. Plaintiffs rightly

do not dispute that, for example, a President’s speech about military or foreign

affairs matters, or about the actions of the Executive Branch, falls within the

outer perimeter of his Office. What makes this case different, they argue, is

that President Trump’s speech was directed toward the constitutional

responsibilities of another Branch of government.

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      The traditional “bully pulpit” of the Presidency, however, is not limited

to speech concerning matters for which the President himself bears

constitutional or statutory responsibility. The public looks to the President, as

the leader of the Nation, for guidance and reassurance even on matters over

which the Executive Branch—or the federal government as a whole—has no

direct control. From the actions of Congress and the Judiciary, to the policies

of state and local governments, to the conduct of private corporations and

individuals, the President can and must engage with the public on matters of

public concern. Such speech is an important traditional function of the

Presidency, and it would offend the constitutional separation-of-powers

principles recognized in Nixon for courts to superintend the President’s speech

to his constituents and to other officeholders by entertaining civil damages

suits arising out of that speech merely because it concerns the conduct of a

coordinate Branch or an entity outside the federal government. Cf. Council on

Am. Islamic Relations v. Ballenger, 444 F.3d 659, 665 (D.C. Cir. 2006)

(recognizing that a “primary obligation” of a high-ranking elected official “in a

representative democracy is to serve and respond to his or her constituents”

(quotation omitted)).

      Second, the district court correctly rejected plaintiffs’ contention that any

conduct occurring in the context of a political campaign necessarily falls

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beyond the outer limits of the President’s Office. JA 235-36; cf. Plaintiffs Br.

33. The United States agrees with the district court that “[t]he Office of the

President has no preference for who occupies it” and that “Article II . . . is

agnostic as to whether a sitting President is elected to a new term.” JA 238. A

President’s private, partisan electioneering activities, lacking any significant

nexus to his responsibilities as President, may therefore fall beyond the outer

limits of his Office under Nixon.

      That principle, however, must be understood and applied with the

greatest sensitivity to the complex and unremitting nature of the President’s

Office and role, which are not amenable to neat dichotomies. The Supreme

Court has emphasized, for example, that “there is not always a clear line”

between the President’s “personal and official affairs.” Mazars, 140 S. Ct. at

2034; see, e.g., In re Lindsey, 158 F.3d 1263, 1286 (D.C. Cir. 1998) (per curiam)

(Tatel, J., concurring in part and dissenting in part) (describing the line as

“both elusive and difficult to discern”). That is especially so with respect to the

President’s speech to the public. As the district court observed, a “first-term

President is, in a sense, always a candidate for office,” and it is “not the least

bit unusual for first-term Presidents to comment on public policy or foreign

affairs at campaign events, or, in this day, to announce policy changes by tweet

during an election year.” JA 235-36. The announcement of a Presidential

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policy decision at a political rally, or remarks on foreign policy delivered at a

campaign event, cannot categorically be excluded from the scope of the

President’s Office merely because of the context in which they are made. And

other statements at such events may be understood by members of the public

and domestic and foreign leaders as reflecting the official views of the

President, not just the remarks of a political candidate.3

      Nor is it appropriate to frame the immunity question—as even the

district court appeared to do at times—in terms of whether the challenged

conduct of the President was undertaken with a purpose “to secure or

perpetuate incumbency.” JA 238. The President is both the Chief Executive

and an elected politician; his policy decisions are also political acts with

political consequences. The Supreme Court in Nixon emphatically rejected an

argument that otherwise-official acts lose immunity if they are motivated by an

impermissible purpose. 457 U.S. at 756. That logic applies with even greater

force to the suggestion that the President should be subject to suit for his



      3
       For those reasons, and because of differences in the applicable legal
standards, the outer perimeter of the President’s Office differs from the scope
of a Member of Congress’s employment for purposes of the Westfall Act, 28
U.S.C. § 2679. Cf. U.S. Resp. to Mo Brooks’s Westfall Act Pet. at 8-19,
Swalwell v. Trump, No. 21-cv-586 (July 27, 2021), Dkt. No. 33 (explaining that
Representative Brooks’s speech at the January 6 rally was outside the scope of
his employment because House ethics rules and agency-law principles establish
that campaign activity is not within a Representative’s employment).
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official acts whenever those acts are—or are plausibly alleged to have been—

motivated by electoral or political considerations.4

IV.   Incitement of Imminent Private Violence Is Not Within the
      Outer Perimeter of the President’s Office

      The district court also correctly rejected President Trump’s categorical

assertion “that whenever and wherever a President speaks on a matter of

public concern he is immune from civil suit,” JA 234—even if that speech also

constitutes incitement to imminent private violence. Speaking to the public on

matters of public concern is a traditional function of the Presidency, and the

outer perimeter of the President’s Office includes a vast realm of such speech.

But that traditional function is one of public communication. It does not

include incitement of imminent private violence of the sort the district court

found that plaintiffs’ complaints have plausibly alleged here.

      The United States here expresses no view on the district court’s

conclusion that plaintiffs have plausibly alleged that President Trump’s

January 6 speech incited the subsequent attack on the Capitol. But because

actual incitement would be unprotected by absolute immunity even if it came



      4
         The district court correctly dismissed the claim alleging that President
Trump improperly failed to exercise his official powers to stop the January 6
attack. JA 241-42. Nixon forecloses such a claim because it is premised on an
allegation that the President had an improper motive for declining to take
official action. See 457 U.S at 750, 756.
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in the context of a speech on matters of public concern, this Court should reject

the categorical argument President Trump pressed below and renews on

appeal. Resolving the appeal on that narrow basis would allow the Court to

avoid comprehensively defining the scope of the President’s immunity for

speech to the public—including when and how to draw a line between a

President’s speech in his presidential capacity and speech in his capacity as a

candidate for office.

      1. No part of a President’s official responsibilities includes the

incitement of imminent private violence. By definition, such conduct plainly

falls outside the President’s constitutional and statutory duties. Cf. Nixon, 457

U.S. at 749-50. It likewise falls outside any plausible understanding of the

President’s traditional function of speaking to the public on matters of public

concern. As the Nation’s leader and head of state, the President has “an

extraordinary power to speak to his fellow citizens and on their behalf.”

Hawaii, 138 S. Ct. at 2417-18. But that traditional function is one of public

communication and persuasion, not incitement of imminent private violence.

To extend immunity to such incitement would contradict the “constitutional

heritage and structure,” Nixon, 457 U.S. at 748, that have informed and

justified the doctrine of presidential immunity.



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      In excluding such incitement from the scope of immunity, however,

courts must take care not to adopt rules that would unduly chill legitimate

presidential communication or threaten to saddle the President with suits that

would be burdensome and intrusive even if they ultimately proved meritless.

In exercising their traditional communicative functions, Presidents routinely

address controversial issues that are the subject of passionate feelings.

Presidents may at times use strong rhetoric. And some who hear that rhetoric

may overreact, or even respond with violence. Precisely because the President

is “an easily identifiable target,” Nixon, 457 U.S. at 753, the limits on his

immunity must be carefully drawn to avoid chilling legitimate presidential

speech to the public. As the district court recognized, “[a] President could not

function effectively if there were a risk that routine speech might hale him into

court.” JA 282.

      In the government’s view, therefore, the scope of a President’s absolute

immunity in this context should be informed by principles analogous to those

the Supreme Court has developed in defining the sort of incitement that is

unprotected by the First Amendment. Under Brandenburg v. Ohio, 395 U.S.

444 (1969), speech lies outside the First Amendment only if it is “directed to

inciting or producing imminent lawless action and is likely to incite or produce

such action.” Id. at 447. That standard reflects our “profound national

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commitment” that “debate on public issues should be uninhibited, robust, and

wide-open.” NAACP v. Claiborne Hardware Co., 458 U.S. 886, 928 (1982)

(quotation omitted). And it ensures that speakers cannot be held liable merely

for “emotionally charged rhetoric,” “strong language,” or “spontaneous and

emotional appeals.” Id.; see, e.g., Hess v. Indiana, 414 U.S. 105, 108-09 (1973).

      Just as the Nation has a profound interest in ensuring that public debate

in general is “robust” and “uninhibited,” Claiborne, 458 U.S. at 928 (quotation

omitted), it has a special interest in ensuring that the threat of lawsuits does not

render the President “unduly cautious” when he speaks for and to the public,

Nixon, 457 U.S. at 752 n.32. The President should thus be afforded broad

latitude to make “spontaneous and emotional appeals” without fear that such

“extemporaneous” remarks will give rise to litigation and potential liability.

Claiborne, 458 U.S. at 928. But just as denying First Amendment protection to

incitement does not unduly chill speech in general, denying absolute immunity

to incitement of imminent private violence should not unduly chill the

President in the performance of his traditional function of speaking to the

public on matters of public concern—provided that courts apply the relevant

principles rigorously and with appropriate sensitivity and deference to the

President’s unique role and the varying circumstances in which he is called

upon to speak for and to the public.

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      In particular, a court considering a claim seeking to hold a President

liable for violence allegedly connected with his speech should deny absolute

immunity only if the speech, viewed objectively and in context, both

encouraged imminent private violence and was likely to produce such

violence. Rigorous application of those objective inquiries avoids the concerns

that would arise if immunity turned on “an inquiry into the President’s

motives.” Nixon, 457 U.S. at 756.

      Of course, even if incitement principles did not inform the scope of

absolute immunity, a President whose speech was deemed outside the

protections of his absolute immunity for other reasons could still invoke

Brandenburg as a First Amendment defense on the merits—as President Trump

did here. See JA 286-99. But incorporating similar principles into the

immunity analysis has an important benefit: Because presidential immunity is

an immunity not just from liability but also from the burdens of litigation, an

order denying immunity is immediately appealable under the collateral-order

doctrine. See Nixon, 457 U.S. at 741-43. Such immediate appellate review

provides an important safeguard against the risk of unfounded suits that could

threaten to chill presidential speech or “distract a President from his public

duties.” Id. at 753.



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      2. Although the district court did not analyze the absolute-immunity

question through the lens of the incitement principles discussed above, the

court applied similar principles in rejecting President Trump’s First

Amendment defense. Specifically, the court held that plaintiffs’ complaints

plausibly allege that the former President’s January 6 speech constituted “an

implicit call for imminent violence or lawlessness” that satisfied the “stringent”

requirements of Brandenburg. JA 297-98. Plaintiffs, for their part, have not

framed their immunity arguments in Brandenburg terms, but their central

contention in this Court is that the former President’s speech instigated the

“attack on Congress.” Br. 19; see id. at 22 (“For purposes of this appeal,” the

allegation that the former President “urged, aided, and abetted” the attack

“must be taken as true.”); see also id. at 2-3, 20, 25, 42-43 & n.11, 46-49.

      President Trump’s briefs do not directly challenge plaintiffs’

characterization of his speech for purposes of this appeal. Instead, the former

President has advanced a single, categorical argument: that “speech on

matters of public concern falls within the scope of a president’s official

functions,” regardless of the circumstances. Trump Br. 7; see, e.g., Reply Br. 2

(“The underlying question here is simple: is a president immune from civil

liability when he or she gives a speech on a matter of public concern? The

answer is undoubtedly, yes.”). And at oral argument, the former President’s

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counsel reiterated his view that absolute immunity extends even to speech that

incites imminent private violence. See, e.g., Oral Arg. 20:15-23:05.

      Given the way the parties have framed their arguments in this Court, the

United States respectfully submits that the Court could resolve this appeal by

rejecting the former President’s categorical position and holding that a

President’s speech on a matter of public concern is not protected by absolute

immunity if it constitutes incitement to imminent private violence—as the

parties have effectively assumed was true here for purposes of this appeal.

Such a narrow decision would leave for further proceedings in the district court

(and, if necessary, a future appeal) any renewed assertion of absolute immunity

more narrowly focused on whether the former President’s speech actually

constituted incitement.

      3. Such a narrow decision would allow the Court to avoid deciding

other questions about the scope of presidential immunity, including when and

how courts should attempt to separate the President’s official and campaign

roles. In principle, as discussed, those roles are undoubtedly separate: “The

Office of the President has no preference for who occupies it,” JA 238, and the

Executive Branch has recognized that partisan electioneering activities are not

among the President’s official functions, see, e.g., Payment of Expenses Associated

with Travel by the President and Vice President, 6 OLC Op. 214, 216 (1982). A

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President thus does not act within the outer perimeter of his office when he

takes a variety of actions connected with his reelection campaign, such as

hiring and directing his campaign staff.

      There may also be circumstances in which a President acts purely in his

private capacity as a candidate for office even though he is speaking to the

public about matters of public concern. But as explained above, drawing a

principled and judicially administrable line between the President’s official and

electoral speech would pose sensitive and difficult questions. The United

States respectfully submits that this unusual case would be a poor vehicle for

attempting to answer those questions. Every President engages in a wide array

of speech that could be characterized as electoral, so the contours of immunity

in this context are of great importance to the presidency and to future

Presidents. In the government’s view, any decision about how to define the

limits of absolute immunity in campaign contexts should await a case in which

the relevant issues have been fully briefed and it is necessary to decide them.




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                               CONCLUSION

      The district court’s denial of absolute immunity should be affirmed.

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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit established in this Court’s

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